UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x       14 Civ 9809(CM)(RLE)
Gary Hill
                                                                FIRST AMENDED COMPLAINT
                                   Plaintiff,
                                                                TRIAL BY JURY DEMANDED

        -against-


Bloomberg L.P.


                                   Defendants.

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        Plaintiff, GARY HILL, (“plaintiff”) by his attorney, Kenneth W. Richardson for his

Complaint against defendants, alleges the following:

        1.       This is a civil rights action for declaratory relief, equitable relief, and monetary

relief including back pay, front pay, compensatory and punitive damages, attorney’s fees and

other relief to redress discrimination in the terms and conditions of employment, based on

plaintiff’s age, race and gender.

          2.        Plaintiff files this action pursuant to the Age Discrimination in Employment

 Act of 1967, Pub. L. No. 90-202, 81 Stat. 602 (Dec. 15, 1967), codified as Chapter 14 of Title

 29 of the United States Code, 29 U.S.C. § 621 through 29 U.S.C. § 634 (ADEA). Plaintiff

 also files this action in violation of federal, state and local New York City laws pursuant to

 Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq., 42 U.S.

 Code § 1981, the New York State Executive Law §296 et seq., and the New York City

 Administrative Code Title 8, §8-107 et seq., Plaintiff also brings this action under the Fair


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 Labor Standards Act, 29 U.S.C. §§ 201 et seq. ("FLSA"), FLSA, 29 U.S.C. § 216(b), under the

 New York Labor Law ("New York Labor Law" or "NYLL") Article 19, §§ 650 et seq., and the

 supporting New York State Department of Labor Regulations, N.Y. Comp. Codes R. & Regs.

 ("N.Y.C.R.R.") title 12, Part 142.



                                  JURISDICTION AND VENUE



       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C, § 1331, 1337, 1343; and supplemental and pursuant jurisdiction over state law claims

pursuant to U.S.C. §1367.

       4.      In addition, the Court has jurisdiction over Plaintiffs claims under the FLSA

pursuant to 29 U.S.C. § 216(b).

       5.      Bloomberg’s offices are located at 731 Lexington Avenue, New York, NY and is

subjected to personal jurisdiction in New York.

       6.      Virtually all of the acts and events and omissions giving rise to this action as set

forth herein occurred in the Southern District.

       7.      Plaintiff timely pursued all applicable administrative remedies, including the

filing of a claim with the Equal Employment Opportunity Commission and including his

Rebuttal Statement. On or about September 12, 2014 a Notice of Right to Sue was issued and

which was received by plaintiff on or about September 16, 2014. This action is commenced

within the 90 day requirement of the receipt of the right to sue letter. Plaintiff contends the

discrimination described herein to be continuous.




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                                               PARTIES

            8.    Plaintiff, Gary Hill is a resident of New York State. His race is Black, he is

 over the age of 40 years and his gender is male.


            9.     Plaintiff was an employee of Bloomberg from on or about November 30,

 1998 until he was terminated on or about June 4, 2013.


           10.    At all relevant times herein plaintiff was an “employee” of defendants within the
meaning of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq., the

New York State Executive Law §296 et seq., and the New York City Administrative Code

Title 8, §8-107 et seq.,


            11.    During his employment with Bloomberg, Plaintiff ha s worke d a s a

 Pa yrol l Ana l ys t a nd a Gl o ba l M o bi l i t y Ana l ys i s i n t he Hum a n Re s ourc e s

 De pa rt m e nt .

            12.    Plaintiff met the definition of employee under applicable law, and he was

 not subject to any applicable exemptions or exclusions under applicable law, including,

 but not limited to, those in an executive, administrative, or professional role.

            Discrimination Allegations

            13.    Plaintiff was employed as a Global Mobility Analyst in Human Resources at

 the time of his termination in June 2013.

            14.    On or about September 26, 2012, Plaintiff was issued a performance warning

 letter.

            15.      The disciplinary action was in reference to Plaintiff’s performance on an

 assignment regarding relocation expenses that Plaintiff was directed to carry out in a


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particular manner by his supervisor, Andrea David – Global Mobility Manager, and which

he did carry out such assignment in the exact manner as instructed by Ms. David.

        16.    Plaintiff made it a point to ask Ms. David what manner of calculation she

wanted him to use in carrying out this assignment, as there was more than one way to go

about it.

        17.     Plaintiff carried out the assignment as instructed but, as it turned out, the

method plaintiff was told to use resulted in missing relocation expense data. This was due to

Plaintiff being instructed by the supervisor to follow a new reconciliation process rather than

being allowed to take the proper time required to prepare the report and continue using the

process Plaintiff had used in four prior years with no discrepancies in the data.

        18.    Plaintiff was blamed for this and, despite 15 years of satisfactory

performance, began to receive write-ups critical of his work and began to suddenly be

increasingly harassed regarding his work.

        19.    As a result, Plaintiff was terminated on or about June 2, 2015.

        20.    At the time of his termination, Plaintiff was the only Black male in the

Human Resources Department. There were two Black females in the Department.

        21.    A White Female committed an error that was just as severe if not more severe

than any error Plaintiff was accused of making. That employee failed to pay FICA tax on

H1-8Visa employees. Ms. David’s comment regarding the error was that the employee could

not be responsible for everything. No action was taken against the employee.

        22.    Plaintiff was fired so that he could be, and was replaced by a younger

employee who is Caucasian.

        23.     That same employee had responsibility for an interface between the payroll

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system and an outside vendor. When problems developed, that employee was not blamed

and no action was taken against her. No employees who were not Black, were under 40

years of age or female were treated in the manner Plaintiff was treated as described above

and as described in his rebuttal statement with the EEOC.

        Other Discrimination Claims

        24.     On one occasion Plaintiff was blamed for an employee deciding not to

relocate. This was evident in an email sent by Plaintiff’s supervisor, Ms. David to the global

head of HR. In essence, the email stated that due to Plaintiff’s lack of good judgment the

employee was now considering refusing to relocate.

        25.     Plaintiff was blamed for not knowing that a vendor’s front end system did not

automatically interface with their back end system.

        26.     Plaintiff was blamed for an issue involving bad data on reports generated by

the vendor even though the interface created by Plaintiff worked perfectly and without error.

        27.     On a day that she was not at work, Plaintiff’s supervisor, Ms. David, had

another employee prepare a report for a meeting even though Plaintiff was Ms. David’s

backup. That other employee was White and female. Plaintiff was eventually called upon to

prepare the report when the White female employee could not prepare the report and came to

Plaintiff for assistance. That employee questioned why she was called upon the prepare the

report instead of Plaintiff.

        28.     Plaintiff was excluded from meetings and not given the full opportunity to

meet with department heads.

        29.     Plaintiff took disability leave from September 2012 through November 2012.

When he returned he was told that he had cost the company a lot of money. No employees

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 who were not Black, were under 40 years of age or female were treated in the manner

 Plaintiff was treated as described above and as described in his rebuttal statement to the

 EEOC.

         Overtime Claims

         30.   Plaintiff received a fixed annual salary regardless of the number of hours

that he worked.

         31.   Plaintiff worked more than forty (40) hours during many workweeks.

         32.   Defendant failed to pay Plaintiff at the premium overtime rate of time and one-

 half for all hours that he worked over forty (40) in a given workweek.

         33.   Defendant did not keep accurate records of hours worked by Plaintiff.


        34.    Defendant did not pay Plaintiff spread-of-hours pay for shifts in excess of ten

(10) hours.

         35.      Upon information and belief, defendant Bloomberg is a Delaware Limited

Partnership.

         36.      Bloomberg maintains its principal place of business at 731 Lexington Avenue,

 New York, New York and regularly transacts business in this District. Bloomberg describes

 itself as business "quickly and accurately delivering data, news and analytics through

 innovative technology."

         37.      Upon information and belief, Bloomberg has the power to hire and fire

 employees, including Plaintiff, direct their work, set their wages, retain time and/or wage

 records, and otherwise control the terms and conditions of their employment. Upon

 information and belief, at all times relevant, Bloomberg had the power to stop the illegal pay

 practices described herein.

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        38.    Bloomberg is a covered employer within the meaning of Title VII, The New

York State Human Rights Law and the New York City Administrative Code.

        39.    Bloomberg is a covered employer and/or enterprise engaged in commerce or

in the production of goods for commerce as applicable within the meaning of the FLSA and

the NYLL and at all times relevant, employed Plaintiff and similarly situated employees and

failed to pay them for all compensable hours worked.

         40.   Upon information and belief, at all pertinent times during the FLSA Period,

Defendant authorized a misclassification of Plaintiff, as FLSA exempt and have, as a matter

of policy, denied him overtime premiums for hours worked in excess of forty (40) hours in a

workweek.

        41.    Defendant is liable under the FLSA for, inter alia, failing to properly compensate

Plaintiff.

         42.   Plaintiff, in his position as Global Mobility Analyst, meets the definition of

employee under federal and state law, and is not subject to any exemptions or exclusions

under applicable law including, those in executive, administrative, or professional roles.

         43.   Upon information and belief, at all times during the NYLL Period, Defendant as

a matter of common practice or policy authorized a misclassification of Plaintiff, as exempt

from the FLSA and the NYLL and have, as a matter of policy, denied him overtime premiums

for hours worked in excess of forty (40) hours in a workweek, and spread-of-hours pay for days

on which he worked more than ten (10) hours and/or when there was a split shift.


         44.   Plaintiff u n d e r the NYLL has not been paid premium overtime wages for the

hours that he has worked in excess of forty (40) hours per workweek, and has not been paid

spread-of-hours pay for days in which Plaintiff worked more than ten (10) hours per day


                                                7
 and/or when there was a split shift.

         Plaintiff’s Duties

         45.    Plaintiff has never performed any managerial or exempt functions, has

 always taken direction from his supervisor and his work was directed and

 controlled by his supervisor. Plaintiff’s duties consisted of tracking the movement

 of the employees of Bloomberg and the expenses incurred by those employees.

 Plaintiff did not have any supervisory functions and earned a flat yearly salary

 None of the work engaged in by Plaintiff involved the exercise of discretion and

 independent judgment with respect to matters of significance.

         46.    Bloomberg is aware that Plaintiff work regularly more than forty (40) hours in a

 workweek as well as more than ten (10) hours on many workdays beginning from the time

 Plaintiff first became employed at Bloomberg until the day he was terminated, but Bloomberg

 never payed Plaintiff overtime or spread-of-hours pay.

                                 FIRST CLAIM FOR RELIEF


       47.      Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 46 of this Complaint with the same force and effect as if set forth herein.
       48.      Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of his employment on the basis of his race in violation of Title VII of the Civil Rights
Act of 1964, as amended, 42 U.S.C. §2000e et seq.,.

       49.      Defendants engaged in these discriminatory practices with notice of such

practices and with malice and reckless indifference to Plaintiff's rights protected under

federal1aw.

       50.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and anguish


                                                 8
and humiliation, and will continue to so suffer unless and until this Court grants relief


                                SECOND CLAIM FOR RELIEF


       51.       Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 50 of this Complaint with the same force and effect as if set forth herein.

       52.       Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of her employment on the basis of race in violation of New York State Executive Law
§296 et seq.

       53.       Defendants engaged in these discriminatory practices with notice of such

practices and with malice and reckless indifference to Plaintiff's rights protected under New

York State1aw.

       54.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and anguish

and humiliation, and will continue to so suffer unless and until this Court grants relief


                                 THIRD CLAIM FOR RELIEF


       55.       Plaintiff repeats and realleges each and every allegation contained in
Paragraphs 1 through 54 of this Complaint with the same force and effect as if set forth herein.

       56.       Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of her employment on the basis of race in violation of The New York City

Administrative Code.

       57.       Defendants engaged in these discriminatory practices with notice of such

practices and with malice and reckless indifference to Plaintiff's rights protected under State1aw.

       58.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and anguish

and humiliation, and will continue to so suffer unless and until this Court grants relief


                                                  9
                                FOURTH CLAIM FOR RELIEF


       59.       Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 58 of this Complaint with the same force and effect as if set forth herein.

       60.       Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of his employment on the basis of his gender in violation of Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq.,.

       61.       Defendants engaged in these discriminatory practices with notice of such
practices and with malice and reckless indifference to Plaintiff's rights protected under

federal1aw.

       62.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and

anguish and humiliation, and will continue to so suffer unless and until this Court grants relief.


                                  FIFTH CLAIM FOR RELIEF


       63.       Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 62 of this Complaint with the same force and effect as if set forth herein.
       64.       Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of her employment on the basis of his gender in violation of New York State
Executive Law §296 et seq.

       65.       Defendants engaged in these discriminatory practices with notice of such

practices and with malice and reckless indifference to Plaintiff's rights protected under New

York State1aw.

       66.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and anguish

and humiliation, and will continue to so suffer unless and until this Court grants relief


                                                 10
                                 SIXTH CLAIM FOR RELIEF
       67.      Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 66 of this Complaint with the same force and effect as if set forth herein.

       68.      Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of her employment on the basis of gender in violation of the New York City

Administrative Code.

       69.      Defendants engaged in these discriminatory practices with notice of such

practices and with malice and reckless indifference to Plaintiff's rights protected under State1aw.
       70.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and anguish

and humiliation, and will continue to so suffer unless and until this Court grants relief.


                               SEVENTH CLAIM FOR RELIEF
       71.      Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 70 of this Complaint with the same force and effect as if set forth herein.

       72.      Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of his employment on the basis of his age in violation of the ADEA.

       73.      Defendants engaged in these discriminatory practices with notice of such
practices and with malice and reckless indifference to Plaintiff's rights protected under

federal1aw.

       74.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and

anguish and humiliation, and will continue to so suffer unless and until this Court grants relief.


                                EIGHTH CLAIM FOR RELIEF


       75.      Plaintiff repeats and realleges each and every allegation contained in


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Paragraphs 1 through 74 of this Complaint with the same force and effect as if set forth herein.

       76.       Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of her employment on the basis of his age in violation of New York State Executive
Law §296 et seq.

       77.       Defendants engaged in these discriminatory practices with notice of such

practices and with malice and reckless indifference to Plaintiff's rights protected under New

York State1aw.

       78.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and anguish

and humiliation, and will continue to so suffer unless and until this Court grants relief


                                 NINTH CLAIM FOR RELIEF
       79.       Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 78 of this Complaint with the same force and effect as if set forth herein.

       80.       Defendants have discriminated against Plaintiff in the terms, conditions and

privileges of his employment on the basis of age in violation of the New York City

Administrative Code.

       81.       Defendants engaged in these discriminatory practices with notice of such
practices and with malice and reckless indifference to Plaintiff's rights protected under State1aw.

       82.     Plaintiff suffered and is suffering irreparable injury and monetary damages as a

result of Defendants' acts and discriminatory practices, as well as mental distress and anguish

and humiliation, and will continue to so suffer unless and until this Court grants relief.


                                 TENTH CLAIM FOR RELIEF


       83.     Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 82 of this Complaint with the same force and effect as if set forth herein.



                                                 12
        84.    Defendant has engaged in a widespread pattern and practice of violating the

 FLSA, as detailed in this Complaint.


        85.     At all relevant times, Plaintiff wase engaged in commerce and/or the

 production of goods for commerce or were employed in an enterprise engaged in commerce

 or in the production of goods for commerce within the meaning of 29 U.S.C. §§ 203,

 206(a) and 207(a).


        86.    The federal overtime pay provisions set forth in§§ 201 et seq., of the FLSA

 apply to Defendant.

        87.    At all relevant times, Plaintiffmet the definition of an employee within the

meaning of29 U.S.C. §§ 203(e) and 207(a) and was not subject to any applicable exemptions or

exclusions.

        88.    At all times relevant, Defendant has been an employer engaged in commerce

 and/or the production or sale of goods for commerce or in an enterprise engaged in commerce

 or in the production of goods for commerce within the meaning of29 U.S.C. §§ 203(d),

 206(a), and 207(a).


        89.    At all relevant times, Defendant knowingly failed to pay Plaintiff overtime pay

 to which they were entitled under the FLSA.

         90.    Defendant failed to keep accurate records of the hours that Plaintiff worked.

         91.    Defendant's violations of the FLSA, as described in this Complaint, have

 been willful and intentional. Defendant has not made a good faith effort to comply with the

 FLSA with respect to its compensation of Plaintiff..

        92.     Because Defendant's violations of the FLSA have been willful, a three-


                                                13
 year statute of limitations applies, pursuant to 29 U.S.C. § 255.

         93.    As a result of Defendant's willful violations of the FLSA, Plaintiff have

 suffered damages by being denied the overtime wages and other wages to which they were

 entitled under the FLSA in accordance with 29 U.S.C. §§ 201 et seq.

         94.    As a result of the Defendant's unlawful acts, Plaintiff have been deprived of the

overtime compensation and other wages in amounts to be determined at trial, and are entitled to

recovery of such amounts, liquidated damages, prejudgment interest, attorneys' fees, costs, and

other compensation pursuant to 29 U.S.C.§216(b).


                                   ELEVENTH CLAIM FOR
                                         RELIEF


       95.     Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 94 of this Complaint with the same force and effect as if set forth herein.


       96.     Defendant failed to make, keep, and preserve accurate records with respect to

Plaintiff as required by the FLSA, including hours worked each workday and total hours

worked each workweek, as required under 29 U.S.C. § 211(c) and supporting federal

regulations.

         97.    Defendant's failure to make, keep, and preserve accurate records was willful.



                                    TWELTH CLAIM FOR
                                         RELIEF



       98.     Plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 97 of this Complaint with the same force and effect as if set forth herein.



                                                14
        99.     At all relevant times, Plaintiff has been an employee, since he was not subject

to any applicable exemptions or exclusions, and Defendant has been an employer within the

meaning of the New York Labor Law.

        100.    The overtime wage provisions of Article 19 of the New York Labor Law and its

 supporting regulations apply to Defendant under the NYLL Article 19, §§ 650 et seq., and the

 supporting N.Y.C.R.R., including, but not limited to, title. 12, Part 142-2 et seq.

         101.    Defendant failed to pay Plaintiff the overtime wages to which he was

 eligible and entitled under the New York Labor Law.

         102.      By Defendant's failure to pay Plaintiff premium overtime wages for hours

 worked in excess of 40 hours per week, they have willfully violated the New York Labor Law

 Article 19, §§ 650 et seq., and the supporting New York State Department of Labor

 Regulations, including, but not limited to, the regulations in 12 N.Y.C.R.R. Part 142-2 et seq.

         103.      Due to Defendant's violations of the New York Labor Law, Plaintiff i s

 entitled to recover from Defendant his unpaid overtime wages, liquidated damages,

 reasonable attorneys' fees and costs of the action, and pre-judgment and post-judgment

 interest.

                                   THIRTEENTH CLAIM FOR
                                          RELIEF


         104.    Plaintiff repeats and realleges each and every allegation contained in

 Paragraphs 1 through 103 of this Complaint with the same force and effect as if set forth herein

         105.    Consistent with their policy and pattern or practice, Defendant has willfully failed

 to pay Plaintiff additional compensation to which he was eligible and entitled of one hour's pay

 at the basic minimum hourly wage rate for each day during which he worked more than ten (10)

 hours and/or there was a split shift.

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        106.    By Defendant's failure to pay Plaintiff spread-of- hours pay, Defendant has

 willfully violated the NYLL Article 19, §§ 650 et seq., and the supporting New York State

 Department of Labor Regulations, including, but not limited to, 12

 N.Y.C.R.R. § 142-4 et seq.

        107.    Due to Defendant's violations of the New York Labor Law, Plaintiff i s entitled

 to recover from Defendant his unpaid spread-of-hours pay, liquidated damages, reasonable

 attorneys' fees and costs of the action, and pre-judgment and post-judgment interest.

                                FOURTEENTH CLAIM FOR RELIEF

        108.    Plaintiff repeats and realleges each and every allegation contained in

 Paragraphs 1 through 107 of this Complaint with the same force and effect as if set forth herein

         109.   Defendant failed to make, keep, and preserve accurate records with respect to

 Plaintiffs, including hours worked each workday and total hours worked each

 workweek, as required by NYLL Article 19, §§ 650 et seq., and supporting regulations,

 including, but not limited to, 12 N.Y.C.R.R § 142-6 et seq.

         110.    Defendant failed to furnish Plaintiffs a statement with every payment of wages

 listing hours worked, rates paid and gross wages in violation of the NYLL and supporting New

 York State Department of Labor Regulations including, but not limited to, 12 N.Y.C.R.R. § 142-

 6 et seq.

         111.   Defendant's failure to make, keep, and preserve accurate records was willful.



                                    PRAYER FOR RELIEF


       WHEREFORE, Plaintiff respectfully requests that his Court enter judgment:

a)     declaring that the acts and practices complained of herein are in violation of Title VII of


                                                 16
the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq., the New York State

Executive Law §296 et seq., the New York City Administrative Code Title 8, §8-107 et seq.,

the ADEA .

b)     enjoining and permanently restraining these violations;

c)     directing Defendants to take such affirmative action as necessary to ensure that the

effects of these unlawful acts and discriminatory employment practices are eliminated and do not

continue to affect Plaintiff's employment opportunities;

d)     directing Defendants to pay Plaintiff compensatory damages, and damages for his mental

anguish, mental distress, humiliation, loss of reputation, and interest thereon, and all such other

damages and remedies as may be available to the Plaintiff;


e).     awarding of unpaid overtime pay for which Pla int i ff is eligible along with an

additional and equal amount as liquidated damages pursuant to 29 U.S.C. §§ 201 et seq., and

the supporting United States Department of Labor regulations;

f).    issuance of a declaratory judgment that the practices complained of in this Complaint are

unlawful under the NYLL, Article 19, §§ 650 et seq., and the suppot1ing New York State

Department of Labor regulations;

g).     awarding of unpaid overtime pay and liquidated damages pursuant to NYLL Article

19, §§ 650 et seq., and the supporting New York State Department of Labor regulations;

h)      Unpaid spread-of-hours pay and liquidated damages, pursuant to NYLL Article

19, §§ 650 et seq., and the supporting New York State Department of Labor regulations;

i)      Pre-judgment interest;

j)      An injunction requiring Defendant to pay all statutorily-required wages pursuant

to the New York Labor Law;




                                                 17
k)        awarding Plaintiff the costs and disbursements of this action, together with reasonable

attorneys' fees, including, without limitation, all such fees as are provided by applicable law;

l)        awarding Plaintiff punitive damages against Defendant;

m)        retaining jurisdiction over this matter to assure full compliance with any Order of this

Court; and

n)        granting such other and further relief as to this Court seems just and

proper.


                               DEMAND FOR A TRIAL BY JURY

Plaintiff demands a trial by jury.
                                                  Digitally signed by Kenneth W.
                                                  Richardson
Dated: New York, New York
                                                  Date: 2015.03.06 22:44:12 -05'00'
       March 6, 2015
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                                                  18
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